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                            UNITED STATES JUDICIAL PANEL
                                         on
                             MULTIDISTRICT LITIGATION


IN RE: UBER TECHNOLOGIES, INC.,
PASSENGER SEXUAL ASSAULT LITIGATION                                                 MDL No. 3084


                                      TRANSFER ORDER


         Before the Panel: Plaintiffs in 14 actions move under 28 U.S.C. § 1407 to centralize this
litigation in the Northern District of California. This litigation consists of 22 actions pending in
11 districts, as listed on Schedule A. Since the filing of the motion, the Panel has been notified of
57 related actions in four districts. 1

         Plaintiffs in 44 actions—including plaintiffs in 33 actions represented by court-appointed
leadership counsel in the California state court coordinated cases 2—support the motion. Plaintiffs
in nine of these actions alternatively support centralization in the District of Massachusetts, and
plaintiff in one action also alternatively supports centralization in the Northern District of Texas.
Defendants 3 oppose centralization or, alternatively, suggest the Eastern District of North Carolina
as the transferee district.

         On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact, and that centralization in the Northern District of California
will serve the convenience of the parties and witnesses and promote the just and efficient conduct
of this litigation. These actions share complex factual questions arising from allegations that Uber
failed to implement appropriate safety precautions to protect passengers, and that plaintiffs
suffered sexual assault or harassment as a result. Common factual questions include Uber’s
knowledge about the prevalence of sexual assault by Uber drivers, and whether Uber failed to
conduct adequate background checks of its drivers, train drivers regarding sexual assault and
harassment, implement adequate safety measures to protect passengers from sexual assault, and

1
        These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h),
7.1, and 7.2.

        Movants notified the Panel of a 58th action in a Notice of Related Actions that they later
informed the Panel had been included erroneously. No party has responded that this action should
be included in centralized proceedings.
2
       California Judicial Council Coordination Proceeding No. 5188 (Uber JCCP).
3
       Uber Technologies, Inc.; Rasier, LLC; and Rasier-CA, LLC (together, Uber).
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adequately respond to complaints about drivers. Centralization will eliminate duplicative
discovery; prevent inconsistent pretrial rulings; and conserve the resources of the parties, their
counsel, and the judiciary.

        Defendants argue that individual and state-specific factual and legal issues will
predominate, and that discovery will focus on the various circumstances of plaintiffs’ alleged
assaults and their injuries. Though, as defendants argue, these claims are of a deeply personal
nature, “almost all injury litigation involves questions of causation that are case- and plaintiff-
specific. Such differences have not been an impediment to centralization in the past.” See In re
Wright Med. Tech., Inc., Conserve Hip Implant Prods. Liab. Litig., 844 F. Supp. 2d 1371, 1372
(J.P.M.L. 2012). Defendants respond that, unlike in a medical device products liability litigation,
an overarching question of general causation will not be at issue here. We find there are sufficient
common issues present to warrant centralized treatment, including, for example, Uber’s
knowledge of the prevalence of sexual assault, representations regarding safety, and policies and
practices for handling complaints about drivers. “Although individualized factual issues may arise
in each action, such issues do not—especially at this early stage of litigation—negate the
efficiencies to be gained by centralization.” In re Nat’l Prescription Opiate Litig., 290 F. Supp.
3d 1375, 1379 (J.P.M.L. 2017).

        Defendants also assert that they intend to name the drivers as third-party defendants, and
the actions will hinge on each driver’s status and alleged conduct. Therefore, defendants argue,
denial of centralization would be consistent with our decision in In re Varsity Spirit Athlete Abuse
Litigation. See __ F. Supp. 3d __, 2023 WL 3828645 at *1 (J.P.M.L. June 5, 2023). We decline
to speculate as to the impact of as yet unfiled third-party claims on the efficiency of common
proceedings. In Varsity Athlete Abuse, we concluded that discovery regarding an alleged common
scheme would be overwhelmed by unique factual issues concerning each plaintiff’s alleged abuse
and the more than 30 individual coaches and gyms named as defendants. But that conclusion also
was supported by our findings that all plaintiffs shared counsel, just ten actions were pending in
seven districts, and the parties already had been successfully informally coordinating the actions.
Id. at *2. Here, in contrast, there are 79 actions pending in 13 districts, and at least 14 different
plaintiffs’ firms are involved. Given the large and growing number of involved actions and
counsel, centralization likely will streamline overlapping discovery and pretrial proceedings
arising from nearly identical allegations regarding Uber’s corporate policies and practices as to
alleged passenger sexual assaults.

        Defendants further argue that common legal issues are not present because of differences
in state law. But many MDLs involve the application of various states’ laws. Defendants cite In
re Uber Technologies, Inc., Wage & Hour Employment Practices Litigation, in which the Panel
denied centralization, finding that “the standards for determining whether independent contractors
are employees vary substantially from state to state and involve a broad range of factors.” 158 F.
Supp. 3d 1372, 1373 (J.P.M.L. 2016). While this issue also is common to the actions before us
and key to certain claims, it is not the question at the root of the litigation, as it was in Uber Wage
& Hour. Rather, discovery and pretrial proceedings here will be focused on far more than this one
issue. Additionally, regardless of whether differences in state law will reduce the risk of
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inconsistent rulings, centralization still will allow for efficient briefing schedules on motions to
dismiss. Thus far, the parties appear to be working informally to enter stipulated briefing
schedules, but with the number of cases and attorneys increasing, this likely will not continue to
be feasible. We, therefore, are not convinced that informal coordination is preferrable here.

        The California state court’s order granting Uber’s motion to dismiss the non-California
cases on forum non conveniens grounds is not relevant to our determination of whether
centralization is appropriate under Section 1407. We consider whether the actions involve
common questions of fact, and whether centralization will serve the convenience of parties and
witnesses and promote the just and efficient conduct of the litigation. See 28 U.S.C. § 1407(a). In
deciding Uber’s forum non conveniens motion, the state court weighed public interest
considerations—such as avoiding overburdening local courts with foreign cases—that we do not
examine under Section 1407. See In re Uber Rideshare Litigation, JCCP No. 5188, January 23,
2023, Order on Uber’s FNC Motion, at p. 11.

       Finally, Uber’s argument that its Terms of Use preclude the motion for centralization is not
persuasive. The Panel is not bound by Uber’s Terms of Use, and Section 1407(c) grants the Panel
the authority to centralize civil cases upon its own initiative. Moreover, plaintiffs suggest they
will challenge the enforceability of Uber’s Terms of Use. Centralization thus will allow for
streamlined briefing on this common issue.

         We find the Northern District of California the most appropriate transferee district for this
litigation. Sixty-two of the 79 actions are pending in this district, where Uber is headquartered,
and where the California Uber JCCP is located. Centralization there will allow for coordination
between the courts and parties. The Honorable Charles R. Breyer, who presides over seven of the
related actions, has unparalleled experience as a transferee judge, and we are confident that he will
steer this litigation on a prudent course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Northern District of California are transferred to the Northern District of California and, with
the consent of that court, assigned to the Honorable Charles R. Breyer for coordinated or
consolidated pretrial proceedings.
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                      PANEL ON MULTIDISTRICT LITIGATION




                                     Karen K. Caldwell
                                         Chair

                   Nathaniel M. Gorton           Matthew F. Kennelly
                   David C. Norton               Roger T. Benitez
                   Dale A. Kimball               Madeline Cox Arleo
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IN RE: UBER TECHNOLOGIES, INC.,
PASSENGER SEXUAL ASSAULT LITIGATION                                MDL No. 3084


                                    SCHEDULE A



          District of Arizona

    ADORNO v. UBER TECHNOLOGIES INCORPORATED, ET AL.,
        C.A. No. 2:23−00875

          Northern District of California

    DOE LSA 340 v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 3:23−01165
    HYLIN v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 3:23−01630
    R. v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 3:23−02051
    G. v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 3:23−02071
    GAVIN v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 3:23−02111
    CRAWFORD v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 3:23−02290
    M. v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 3:23−03406
    A.H.M. v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 3:23−03482
    B. v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 3:23−03488

          District of Colorado

    GLASER v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 1:23−01734
    M.H. v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 1:23−01735

          Middle District of Georgia

    FRESHWATER v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 5:23−00246

          Northern District of Georgia

    N.R. v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 1:23−02603

          Northern District of Illinois

    C.S. v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 1:23−02766
    SULLIVAN v. UBER TECHNOLOGIES, INC., C.A. No. 1:23−02767
    MURPHY v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 1:23−03425
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      District of Massachusetts

DOE v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 1:23−10745

      Western District of Missouri

COWSERT v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 2:23−04133

      Eastern District of North Carolina

S.W. v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 5:23−00317

      Northern District of Texas

ESPINOSA v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 3:23−01519

      Southern District of Texas

ROLLO v. UBER TECHNOLOGIES, INC., ET AL., C.A. No. 3:23−00216
